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     TELEPHONE: 1-212-558-4000
                                                                  125 Broad Street
      FACSIMILE: 1-212-558-3588
        WWW.SULLCROM.COM                                    New York, New York 10004-2498
                                                                               ______________________

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                                                                 December 17, 2020
Via ECF

The Honorable Analisa Torres,
    United States District Court for the
        Southern District of New York,
            500 Pearl Street,
                 New York, New York 10007-1312.

                  Re:        Chen-Oster, et al. v. Goldman, Sachs & Co., et ano.,
                             No. 10 Civ. 6950 (AT) (RWL) (S.D.N.Y.)

Dear Judge Torres:

                On behalf of Defendants, and in accordance with Rule IV.A.ii of Your
Honor’s Individual Practices in Civil Cases, I request that the Court (1) maintain under seal
Exhibit 9 (ECF No. 1141-9), a confidential draft presentation to the Department of Labor’s
Office of Federal Contract Compliance Programs (“OFCCP”), to Plaintiffs’ December 14,
2020 objections (“Objections”; ECF No. 1141) and permit redaction of a quotation from that
document in Plaintiffs’ Objections, and (2) permit redaction of sensitive personally
identifying information listed in two exhibits to the Objections (ECF Nos. 1141-27, 1141-
31), including the names of individual promotion candidates and a current employee’s
individual telephone number. The parties conferred on December 14 and 17, 2020. Plaintiffs
do not oppose Defendants’ requests.

               As a threshold matter, Judge Lehrburger has already held that the exact same
documents and information at issue should remain sealed or redacted. (ECF No. 1106.) In
addition, this Court and Judge Lehrburger have held repeatedly that OFCCP-related
regulatory materials should remain sealed in public filings. (ECF Nos. 947, 1078, 1092.)
This Court and Judge Lehrburger have also held many times that sensitive personally
identifying information of Goldman Sachs employees should be redacted in public filings.
(See, e.g., ECF Nos. 681, 747, 770, 890, 933, 1078, 1092.) Defendants request that the Court
continue to permit such redaction and sealing consistent with its and Judge Lehrburger’s
prior Orders.

                In any event, there is no presumed right of access to information filed
concerning discovery issues. The Second Circuit has held repeatedly that “‘the mere filing
of a paper or document with the court is insufficient to render that paper a judicial document
subject to the right of public access.’” Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110,
119 (2d Cir. 2006) (quoting United States v. Amodeo, 44 F.3d 141, 145 (2d Cir. 1995)).
Rather, “‘the item filed must be relevant to the performance of the judicial function and
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useful in the judicial process,’” id., such as “pleadings in civil litigation []other than
discovery motions and accompanying exhibits.” Bernstein v. Bernstein Litowitz Berger &
Grossmann LLP, 814 F.3d 132, 140 (2d Cir. 2016) (emphasis added; internal quotation
marks omitted); see Winfield v. City of New York, 2017 WL 2880556, at *4 (S.D.N.Y. July
5, 2017) (Parker, J.) (holding “that documents filed with the court in connection with
discovery-related disputes are not judicial documents”); Joy v. North, 692 F.2d 880, 893 (2d
Cir. 1982) (“Discovery involves the use of compulsory process to facilitate orderly
preparation for trial, not to educate or titillate the public.”). Here, because Plaintiffs filed the
documents and information in connection with Plaintiffs’ request for additional document
discovery, they are not judicial documents entitled to a presumption of public access.

                To the extent the presumption of access applies at all, it would be weak
because Plaintiffs’ request for additional discovery has, at best, a tenuous connection to the
adjudication of Plaintiffs’ substantive rights. See Dorsett v. Cty. of Nassau, 762 F. Supp. 2d
500, 518 (E.D.N.Y. 2011) (Tomlinson, J.) (“[T]he presumption in favor of public access to
judicial documents will be given the strongest weight possible where the documents played
a role in determining the litigants’ substantive rights, and, as the documents’ role becomes
more attenuated from the exercise of Article III judicial power, the weight of the presumption
declines.”), aff’d, 800 F. Supp. 2d 453 (E.D.N.Y. 2011) (Spatt, J.), aff’d sub nom. Newsday
LLC v. Cty. of Nassau, 730 F.3d 156 (2d Cir. 2013). Any such weak presumption of access
would be outweighed by “balanc[ing] competing considerations against” disclosure. United
States v. Amodeo, 71 F.3d 1044, 1050 (2d Cir. 1995).

                First, Goldman Sachs’s draft of a confidential regulatory presentation to the
OFCCP should remain sealed. Under Second Circuit precedent, “in applying the balancing
test,” the Court “should give added weight” to the risk that “requiring disclosure will have a
potential chilling effect” on desirable behaviors. In re N.Y. Times, 828 F.2d 110, 114 (2d
Cir. 1987). Exhibit 9 to Plaintiffs’ Objections is a draft confidential regulatory presentation
to the OFCCP regarding Goldman Sachs’s diversity efforts. Disclosure of regulatory-related
materials—including confidential presentations by employers to the OFCCP—risks chilling
future regulatory communications. See United States v. Nixon, 418 U.S. 683, 705 (1974)
(“[T]hose who expect public dissemination of their remarks may well temper candor with a
concern for appearances and for their own interests to the detriment of the decisionmaking
process.”). Each page of the draft presentation is stamped “Confidential Conciliation
Materials – Not Admissible Pursuant to Federal Rule of Evidence 408,” and the presentation
includes a slide stating that the information contained therein “is proprietary and confidential,
and not subject to disclosure under [the Freedom of Information Act],” and that “Goldman
Sachs does not authorize release or disclosure” of the presentation. Where, as here,
“submissions to regulatory agencies that are not publicly available” have been produced in
discovery, courts “find[] that these documents should remain under seal.” In re Abilify
(Aripiprazole) Prods. Liab. Litig., 2017 WL 4399198, at *3 (N.D. Fla. Sept. 29, 2017). To
hold otherwise “would have a chilling effect” on employers’ “obligation to conduct frank,
open, and honest conversations” with their regulators. Id.

             Second, certain sensitive personally identifying information of individual
employees in the exhibits to the Objections, such as the names of individual employee
promotion candidates and a current employee’s individual telephone number, should be
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redacted. Under Second Circuit precedent, “the privacy interests of innocent third parties
should weigh heavily in a court’s balancing equation.” Amodeo, 71 F.3d at 1050 (internal
quotation marks and alterations omitted); see In re N.Y. Times, 828 F.2d at 116 (privacy
interests “should weigh heavily in a court’s balancing equation in determining what portions
of motion papers in question should remain sealed or should be redacted”). Here, the privacy
interests of the Goldman Sachs employees listed in Exhibits 27 and 31 to Plaintiffs’
Objections counsel in favor of continued redaction of their sensitive personally identifying
information. See United States v. Silver, 2016 WL 1572993, at *7 (S.D.N.Y. Apr. 14, 2016)
(Caproni, J.) (“[P]rivacy interests . . . warrant redactions to protect [individuals’]
identities.”).

               For the foregoing reasons, Defendants respectfully ask the Court to
(1) maintain under seal Exhibit 9 to Plaintiffs’ Objections, and permit redaction of a
quotation from that exhibit in the Objections, and (2) permit redaction of certain sensitive
personally identifying information listed in Exhibits 27 and 31 to Plaintiffs’ Objections.

                                                            Respectfully,

                                                            /s/ Ann-Elizabeth Ostrager

                                                            Ann-Elizabeth Ostrager
                                                            of Sullivan & Cromwell LLP

cc:    All parties of record (by ECF)
